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                       UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF COLORADO
                       Bankruptcy Judge Joseph G. Rosania, Jr.


  In re:
                                              Bankruptcy Case No 23-13858-JGR
  SANDRA ROSEMARY OLDENBURG,
  LEE MICHAEL OLDENBURG,                      Chapter 13

  Debtor(s).

           ORDER GRANTING MOTION FOR EXTENSION OF TIME AND
                    ORDER RESCHEDULING HEARING

       THIS MATTER comes before the Court on the Debtor’s Motion to Extend Time to
File Amended Chapter 13 Plan filed on December 21, 2023 (Docket #44). The Court,

       DOES FIND that the Debtors are requesting an extension of time to file and
serve an amended Chapter 13 plan because Debtors’ Counsel represents that “through
numerous calls, voicemails and emails to two different email addresses - has not been
able to reach Debtors to discuss the Amended Plan due per this Court’s Order at docket
no. 22…. An additional modest extension of the deadline to Amend the Plan would not
prejudice any parties or creditors in this matter.” Therefore, the Court,

       HEREBY ORDERS as follows:

       1.      The Debtor’s Motion to Extend Time to File Amended Chapter 13 plan
filed December 21, 2023 (Docket #44) is hereby GRANTED. The Debtor(s) shall file the
amended Chapter 13 plan on or before January 4, 2024. Any amended plan filed by
Debtor(s) shall be in substantial conformity with L.B. Form 3015-1.1. In the event
Debtor fails to file an amended plan which is not in substantial conformity with L.B. Form
3015-1.1, the within case may be dismissed without further notice or hearing.

       2.     The hearing on confirmation currently scheduled for February 1, 2024 is
VACATED and RESCHEDULED for a telephonic non-evidentiary hearing regarding
Debtor(s) amended Chapter 13 Plan and Objections thereto, if any, at 10:00 a.m. on
Thursday, February 15, 2024, Courtroom B, U.S. Bankruptcy Court, U.S. Custom
House, 721 19th Street, Denver, Colorado 80202. Counsel/parties shall appear by
telephone at the hearing. The following instructions are provided for appearing by
telephone and connecting to the conference call line:

       Dial 833-435-1820 or 833-568-8864, a few minutes prior to
       commencement of the hearing and Enter the Meeting ID: 161 324 5580.
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Failure to connect to the conference in a timely manner may preclude your participation
in the hearing. If you are unable to connect after following the instructions provided,
please call 720-904-7300 and leave a name and the telephone number where you can
be reached and the Court will return the call.

3.     The Debtor(s) shall, on or before January 4, 2024, file and serve the Amended
Chapter 13 Plan along with a notice in substantial conformity with L.B. Form 3015-1.2
and in compliance with Bankruptcy Rules 2002(b) and 7004, which notice shall also
include language in paragraph two above regarding telephone appearance at the
continued hearing, on the following:

              ☒      Chapter 13 Trustee
              ☒      All creditors and parties who have entered an appearance and/or
                     requested notice in the case

       4.     The deadline for filing objections to confirmation is January 25, 2024.

      5.     On or before February 8, 2024, the Debtor(s) shall file the appropriate
Confirmation Status Report or Verification of Confirmable Plan.

   IN THE EVENT DEBTOR FAILS TO FILE OR FAILS TO FILE A MEANINGFUL
    CONFIRMATION STATUS REPORT BY THE ABOVE DEADLINE, THE PLAN
      CONFIRMATION HEARING WILL NOT BE VACATED BY THE COURT.

       6.     In the event Debtor(s) fails/fail to comply as ordered herein, confirmation
of the amended plan may be DENIED and the case may be dismissed without further
notice or hearing.

       Dated: December 22, 2023.                 BY THE COURT:


                                                 ______________________________
                                                 Joseph G. Rosania, Jr.,
                                                 United States Bankruptcy Judge




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